        Case 1:14-cv-00712-SHS Document 409 Filed 01/11/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 FEDERAL TREASURY ENTERPRISE
 SOWZPLODOIMPORT and OAO
 "MOSCOW DISTILLERY CRISTALL",

                                      Plaintiffs,

                   -against-

 SPIRITS INTERNATIONAL B.V., SPI                    1:14-CV-00712 (SHS)
 SPIRITS LIMITED, SPI GROUP SA, YURI
 SHEPLER, ALEXEY OLIYNIK, WILLIAM
 GRANT & SONS USA, WILLIAM GRANT
 & SONS, INC., STOLi GROUP (USA) LLC,
 and ZHS IP AMERICAS SARL,

                                   Defendants.


 ORDER APPOINTING COMMISSIONERS TO TAKE EVIDENCE PURSUANT TO
CHAPTER II, ARTICLE 17 OF THE HAGUE CONVENTION OF 18 MARCH 1970 ON
 THE TAKING OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS

       The Court, having reviewed the Joint Motion for Appointment of Commissioners to Take

Evidence Pursuant to Chapter II, Article 17 of the Hague Convention of 18 March 1970 on the

Taking of Evidence Abroad in Civil or Commercial Matters (ECF No.. 406), and supporting

papers submitted by Plaintiffs Federal Treasury Enterprise Sojuzplodoimport and OAO

"Moscow Distillery Cristall" ( collectively, "Plaintiffs"); Defendants Spirits International B.V.,

SPI Spirits Limited, SPI Group SA, Yuri Shetler, Alexey Oliynik, Stoli Group (USA) LLC,

and ZHS IP Americas Sari (collectively, "SPI Defendants"); and Defendants William Grant &

Sons USA, and William Grant & Sons, Inc ( collectively, "WGS Defendants"),

        HEREBY ORDERS THAT:


       (a)     The Joint Motion (ECF No. 406) is GRANTED;
         Case 1:14-cv-00712-SHS Document 409 Filed 01/11/21 Page 2 of 2




       (b)     Pursuant to Article 17 of the Hague Convention, Remo Decurtins (the "Swiss

Commissioner"), Marc L. Greenwald, Keith R. Hummel, and Edward T. Colbert (together, the

"Commissioners") are duly appointed, pending the approval of the Swiss Federal Office of Justice

("FOJ"), as commissioners to take evidence in the above-captioned action, specifically in

connection with the deposition of Alexey Oliynik in his individual capacity and on behalf of the

SPI Defendants pursuant to Plaintiffs' Rule 30(b)(6) notice served on the SPI Defendants, subject

to the parties' agreement regarding the scope of the topics in the notice;

       (c)     This signed Order will be given to the counsel for the parties and the Swiss

Commissioner who is directed to file it together with the necessary application for authorization

from the relevant Swiss authorities within five (5) business days of the date of this order;

       (d)     Neither this Order, nor the terms of the Court's Request (which is incorporated into

this Order) shall constitute or operate as a waiver of the attorney-client privilege, the work product

doctrine, or any other privileges, rights, or protections that may apply to evidence under the laws

of Switzerland or the United States.

       IT IS SO ORDERED.

        January 8, 2021
 Dated: -------
                                                    Sidney H. Stein
                                                    United States District Judge
